                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                             CENTRAL DIVISION

 LIGURIA FOODS, INC.,

                                                         No. C 14-3041-MWB
               Plaintiff,
 vs.
                                                   SUPPLEMENTAL PRETRIAL
 GRIFFITH LABORATORIES, INC.,                             ORDER

               Defendant.
                            ___________________________

        I held a Final Pretrial Conference in this matter on April 17, 2017. Plaintiff
Liguria was represented by David Ben-Dov and Jay Denne, in person, and Richard A.
Del Giudice and Christina M. Faklis, by telephone. Defendant Griffith was represented
by Christopher B. Wilson and John C. Gray, in person. The following matters were
discussed:


1.      TRIAL SCHEDULE
        This is a jury trial, before me, scheduled to begin on the 1st day of May, 2017,
in the third floor courtroom in the U.S. Courthouse in Sioux City, Iowa. The trial is
scheduled for no more than ten days, and the parties will be subject to time limitations as
I have previously communicated.
        On Monday, May 1, 2017, counsel shall be at the courthouse by 8:00 a.m. Jury
selection will begin at 9:00 a.m. In a departure from my usual procedure, the parties
will make opening statements to the full venire of potential jurors prior to jury selection.
The trial day shall conclude at 4:45 p.m. with a lunch recess of approximately 1 hour
and 15 minutes. Thereafter, the trial days will run from 8:30 a.m. to 2:30 p.m., with



       Case 3:14-cv-03041-MWB-CJW Document 159 Filed 04/28/17 Page 1 of 3
two recesses of approximately 20 minutes each, with the exception of Friday, May 5,
2017. Because of an investiture ceremony in the courtroom that day, trial will be held
only from 8:30 a.m. until 11:30 a.m.


2.     EVIDENTIARY MOTIONS
       There are currently no pending evidentiary motions. The parties have outlined
evidentiary and other legal issues in the final pretrial order.


3.     FINAL PRETRIAL ORDER
       By Order filed April 20, 2017, the parties were directed to resubmit a complete
Proposed Final Pretrial Order with revised exhibit lists not later than 12:00 p.m. on
Friday, April 28, 2017. That order will be entered separately when a signed copy is
submitted.


4.     TRIAL BRIEFS
       Neither party has so far filed a trial brief.


5.     WITNESSES
       The parties are directed to have witnesses available throughout the trial, so there
will be no delays, unless prior arrangements have been made to take certain witnesses at
specific times. The parties have included some of the same witnesses on their witness
lists. To avoid recalling such witnesses, the parties have agreed that cross-examination
may be combined with the opposing party’s direct examination and may exceed the scope
of the original examination. The parties are requested to notify each other as soon as
reasonably practicable if they decide not to call a witness listed on their witness lists.



                                              2

     Case 3:14-cv-03041-MWB-CJW Document 159 Filed 04/28/17 Page 2 of 3
6.     EXHIBITS
       The parties have submitted revised exhibit lists with their complete Final Pretrial
Order. They have exchanged exhibits and submitted copies for the court.


7.     JURY DOCUMENTS
       Prior to the final pretrial conference, the parties submitted Joint Proposed Jury
Instructions and the plaintiff submitted a proposed verdict form. On April 19, 2017, I
provided the parties with a first draft of the proposed jury instructions, including
annotations showing my rationale, and directed the parties to email me and file responses
by 12:00 p.m. on Saturday, April 22, 2017. I sent the parties a second draft of the
instructions on April 25, 2017, and directed the parties to respond by email by 12:00
p.m. on April 26, 2017. I sent the parties what I believed was the final set of instructions
on April 26, 2017.


8.     COMPLIANCE WITH LOCAL RULES
       The parties are cautioned to comply with all of the court’s Local Rules in
connection with the trial of this case. In particular, the parties are advised to refer
carefully to Local Rules 83.3, 83.4, 83.5, and 83.6.


       IT IS SO ORDERED.
       DATED this 28th day of April, 2017.



                                          ______________________________________
                                          MARK W. BENNETT
                                          U.S. DISTRICT COURT JUDGE
                                          NORTHERN DISTRICT OF IOWA


                                             3

     Case 3:14-cv-03041-MWB-CJW Document 159 Filed 04/28/17 Page 3 of 3
